              Case 7:25-mj-00091-CKM                       Document 3               Filed 05/08/25       Page 1 of 1             Pageid#: 10
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                      Copy of warrant and inventory left with:
PM                        May 8, 2025 @ 1326 hrs                                      On file with USPIS
Inventory made in the presence of :
 Postal Inspector Barrett and USPIS TFO Bridges
Inventory of the property taken and name V of any person(s) seized:
1. Approximately 36 grams of steroids.

2. United States Postal Service Priority Mail Parcel bearing tracking number “9405 5362 0624 9298 2565 57” and packing
material.




                                                            5/8/2025 2:48 PM                                                 May 08, 2025




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:     5/8/2025
                                                                                                     ([HFXWLQJRIILFHU¶VVLJQDWXUH

                                                                                  Michael J. Barrett, United States Postal Inspector
                                                                                                        3ULQWHGQDPHDQGWLWOH




              Print                        Save As...                                                                                  Reset
